 Case 5:16-cv-00027-EKD Document 33 Filed 01/27/17 Page 1 of 9 Pageid#: 213




                      IN THE UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF VIRGINIA
                             HARRISONBURG DIVISION

LHF PRODUCTIONS, INC.,                   Case No. 5:16-cv-00027-EKD

                                         SECOND AMENDED COMPLAINT
              Plaintiff,

       vs.

DASH FOOD MART,
STEVIE STOUT,
SHADY OAK FARM, INC.,
OLIN WILLIAMS,
WAYNE FERGUSON,
LATOYA BOYKINS,
SARAH HALL,
CRYSTAL REED, AND
PHILLIPA RINE

              Defendants.


     SECOND AMENDED COMPLAINT FOR COPYRIGHT INFRINGEMENT
              Plaintiff, LHF Productions, Inc., by and through its undersigned counsel, for

and as its Second Amended Complaint against Defendants, alleges as follows:

                              JURISDICTION AND VENUE
1.     This is a civil action seeking damages and injunctive relief for copyright

infringement under the Copyright Law of the United States (17 U.S.C. §101 et seq.). As

set forth in greater detail below, this action involves the unauthorized acquisition, copying

and transfer of the copyrighted motion picture London Has Fallen (hereinafter, “the Motion

Picture” or “London Has Fallen”) by Defendants.
 Case 5:16-cv-00027-EKD Document 33 Filed 01/27/17 Page 2 of 9 Pageid#: 214




2.     London Has Fallen is an action thriller directed by Babak Najafi, and stars Gerard

Butler, Morgan Freeman and Aaron Eckhart, among others. The Motion Picture has

significant value and has been produced and created at considerable expense.


3.     This Court has jurisdiction under 17 U.S.C. §101 et seq.; 28 U.S.C. §1331

(federal question); and 28 U.S.C. §1338(a) (copyright).


4.     Upon information and belief, the defendants reside in this Division and

elsewhere in this Judicial District.


       3.     The acquisition, copying and transfer of the Motion Picture is

accomplished by using a network called a "BitTorrent protocol" or "torrent," which is

different than a Peer-to-Peer (“P2P”) protocol. The BitTorrent protocol makes even

small computers with low bandwidth capable of participating in large data transfers for

copying large files such as movies. The initial file-provider intentionally elects to share a

file with a torrent network. This initial file is called a seed. Other users ("peers") and

the network connect to the seed file to download a movie. As additional peers

request the same file, each additional user knowingly becomes a part of the network

from which the file can be downloaded. Each new file downloader receives a different

piece of the data from each user who has already downloaded the file that together

comprises the whole. This piecemeal system with multiple pieces of data coming from

peer members is usually referred to as a "swarm." The effect of this technology makes

every downloader also an uploader of the illegally transferred file(s). This means that



                                               2
 Case 5:16-cv-00027-EKD Document 33 Filed 01/27/17 Page 3 of 9 Pageid#: 215




every "node" or peer user who has a copy of the infringing copyrighted material on a

torrent network intentionally also becomes a source of download for that infringing file.


       4.     This distributed nature of BitTorrent leads to a rapid viral spreading of a file

throughout peer users. As more peers join the swarm, the likelihood of a successful

download increases. Because of the nature of a BitTorrent protocol, any seed peer that has

downloaded a file prior to the time a subsequent peer downloads the same file is

automatically a source for the subsequent peer so long as that first seed peer is online at the

time the subsequent peer downloads a file. Essentially, because of the nature of the swarm

downloads as described above, every infringer is stealing copyrighted material from many

Internet Service Providers (“ISPs”) in numerous jurisdictions.


       5.     On information and belief, personal jurisdiction in this District is proper

because each Defendant, without consent or permission of Plaintiff as exclusive rights

owner, within this District, reproduced, distributed and offered to distribute among other

Defendants over the Internet the copyrighted Motion Picture for which Plaintiff has

exclusive rights. Plaintiff has used geolocation technology to trace the Internet Protocol

(“IP”) addresses of each Defendant to a point of origin within this District. On

information and belief, each Defendant has an IP address based in this District and

resides in or committed copyright infringement in this District.

       6.     In the alternative, this Court has personal jurisdiction over non-resident

Defendants, if any, under the Virginia long-arm statute, Va. Code § 8.01-328.1, because




                                               3
 Case 5:16-cv-00027-EKD Document 33 Filed 01/27/17 Page 4 of 9 Pageid#: 216




they downloaded copyrighted content from or uploaded it to Virginia residents located in

this District, thus committing a tortious act within the meaning of the statute.

       7.     Venue in this District is proper under 28 U.S.C. §1391(b) and/or 28 U.S.C.

§1400(a). Although the true identity of each Defendant is unknown to Plaintiff at this

time, on information and belief, Defendants reside in this District, may be found in this

District and/or a substantial part of the acts of infringement complained of herein

occurred in this District.

                                     THE PARTIES

       8.     Plaintiff brings this action to stop Defendants from copying and

distributing to others over the Internet unauthorized copies of Plaintiff’s copyrighted

Motion Picture. Defendants' infringements allow them and others unlawfully to obtain

and distribute an unauthorized copy of the Motion Picture for free. Each time a Defendant

unlawfully distributes a free copy of Plaintiff's copyrighted Motion Picture to others over

the Internet, each person who copies the Motion Picture then distributes the unlawful copy

to others without any significant degradation in sound and picture quality. Thus, a

Defendant's distribution of even one unlawful copy of a motion picture can result in the

nearly instantaneous worldwide distribution of that single copy to a limitless number of

people. Plaintiff now seeks redress for this rampant infringement of its exclusive rights.


       9.     Plaintiff is the owner of the copyright and/or the pertinent exclusive rights

under copyright in the United States in the Motion Picture that has been unlawfully

distributed over the Internet by Defendants.


                                               4
 Case 5:16-cv-00027-EKD Document 33 Filed 01/27/17 Page 5 of 9 Pageid#: 217




       10.    The names of Defendants have been obtained by the Plaintiff via a

subpoena issued to and responded by the Internet Service Provider that assigned each

Defendant an Internet Protocol ("IP") address.          The IP address assigned to each

Defendant was used for online infringement of Plaintiff's motion picture. The original

complaint filed in this case was based upon twenty-five (25) DOE defendant IP addresses.

Possible defendants whose IP addresses were identified, but have not been named in this

First Amended Complaint were either deemed unidentifiable by the Internet Service

Provider, have been verified as non-infringers, or have entered into settlement agreements

with the Plaintiff.



                                         COUNT I
                             COPYRIGHT INFRINGEMENT
       11.    The Motion Picture is currently available for viewing throughout the U.S. As

a result, the Motion Picture has significant value and has been produced and created at

considerable expense.

       12.    The Motion Picture is the subject of a pending copyright application filed

with the Register of Copyrights on March 12, 2016 (Exhibit A), and this action is brought

in conformance with 17 U.S.C. § 411.

       13.    The Copyrighted Motion Picture includes a copyright notice advising the

viewer that the motion picture is protected by the Copyright Laws.

       14.    Plaintiff is informed and believes that each Defendant, without the permission

or consent of Plaintiff, has used, and continues to use, an online media distribution system to

reproduce and distribute to the public, including by making available for distribution to
                                               5
 Case 5:16-cv-00027-EKD Document 33 Filed 01/27/17 Page 6 of 9 Pageid#: 218




others, the Copyrighted Motion Picture. Plaintiff has identified each Defendant by the IP

address assigned to that Defendant by his or her ISP and the date and the time at which the

infringing activity of each Defendant was observed. (Exhibit B). Each Defendant has

violated Plaintiff’s exclusive rights of reproduction and distribution. Each Defendant's actions

constitute infringement of Plaintiff's exclusive rights protected under the Copyright Act (17

U.S.C. §101 et seq.).

       15.     On information and belief, each Defendant deliberately participated in a swarm

and/or reproduced and/or distributed the same seed file of Plaintiff's Copyrighted Motion

Picture in digital form with other Defendants. In particular, on information and belief,

Defendants participated in a collective and interdependent manner with other Defendants

via the Internet for the unlawful purpose of reproducing, exchanging and distributing

copyrighted material unique to the swarm.

       16.     By participating in the same swarm, each Defendant participated in the same

transaction, occurrence or series of transactions or occurrences as the other Defendants in

the swarm. The foregoing acts of infringement constitute a collective enterprise of shared,

overlapping facts and have been willful, intentional, and in disregard of and with

indifference to the rights of Plaintiff.

       17.     As a result of each Defendant's infringement of Plaintiff's exclusive rights

under copyright, Plaintiff is entitled to relief pursuant to 17 U.S.C. §504 and to its attorneys'

fees and costs pursuant to 17 U.S.C. §505.

    18.        The conduct of each Defendant is causing and, unless enjoined and

restrained by this Court, will continue to cause Plaintiff great and irreparable injury that

                                                6
 Case 5:16-cv-00027-EKD Document 33 Filed 01/27/17 Page 7 of 9 Pageid#: 219




cannot fully be compensated or measured in money. Plaintiff has no adequate remedy at

law. Pursuant to 17 U.S.C. §§502 and 503, Plaintiff is entitled to injunctive relief

prohibiting each Defendant from further infringing Plaintiff's copyright and ordering that

each Defendant destroy all unauthorized copies of the Copyrighted Motion Picture.



                                    PRAYER FOR RELIEF


    WHEREFORE, Plaintiff prays for judgment against each Defendant and relief as


follows:
       1.     For entry of permanent injunctions providing that each Defendant shall be

enjoined from directly or indirectly infringing Plaintiff's rights in the Copyrighted Motion

Picture, including without limitation by using the Internet to reproduce or copy Plaintiff's

Motion Picture, to distribute Plaintiff's Motion Picture, or to make Plaintiff's Motion

Picture available for distribution to the public, except pursuant to a lawful license or with

the express authority of Plaintiff. Each Defendant also shall destroy all copies of

Plaintiff's Motion Picture that Defendant has downloaded onto any computer hard drive

or server without Plaintiff's authorization and (subject to the Order of Impoundment

prayed for below) shall serve up all copies of the downloaded Motion Picture transferred

onto any physical medium or device in each Defendant's possession, custody or control.

       2.     For Judgment in favor of Plaintiff against Defendants that they have: a)

willfully infringed Plaintiff’s rights in its federally registered copyright pursuant to 17

U.S.C. §501; and b) otherwise injured the business reputation and business of Plaintiff by


                                              7
 Case 5:16-cv-00027-EKD Document 33 Filed 01/27/17 Page 8 of 9 Pageid#: 220




Defendants’ acts and conduct set forth in this Complaint.


       3.      For Judgment in favor of Plaintiff against Defendants for actual damages or

statutory damages pursuant to 17 U.S.C. §504, at the election of Plaintiff, in an amount to

be determined at trial.


       4.      For an Order of Impoundment under 17 U.S.C. §§503 and 509(a)

impounding all infringing copies of Plaintiff’s Motion Picture which are in Defendants’

possession or under their control.


       5.      For Judgment in favor of Plaintiff and against Defendants awarding Plaintiff

attorneys’ fees, litigation expenses (including fees and costs of expert witnesses) and other

costs of this action.


       6.      For Judgment in favor of Plaintiff against Defendants, awarding Plaintiff

such further declaratory and injunctive relief as may be just and proper under the

circumstances.



                                     JURY DEMAND

       Plaintiff demands trial by jury on all issues so triable.


DATED: January 26, 2017                   Respectfully submitted,

                                          By:        /s/Dale R. Jensen
                                                    Dale R. Jensen (VSB 71109)
                                                    Dale Jensen, PLC
                                                    606 Bull Run
                                                    Staunton, VA 24401
                                                    (434) 249-3874
                                                8
Case 5:16-cv-00027-EKD Document 33 Filed 01/27/17 Page 9 of 9 Pageid#: 221




                                         (866) 372-0348 facsimile
                                         djensen@dalejensenlaw.com
                                         Counsel for LHF Productions, Inc.




                                     9
